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         ORDERED in the Southern District of Florida on January 11, 2022.



                                                         Scott M. Grossman, Judge
_____________________________________________________________________________
                                           United States Bankruptcy Court




                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION
                                         www.flsb.uscourts.gov

         In re:                                                          Chapter 11 Cases

         LIBERTY POWER HOLDINGS, LLC,                                    Case No. 21-13797-SMG
         LPT, LLC,                                                       Case No. 21-15537-SMG
         LIBERTY POWER MARYLAND, LLC,                                    Case No. 21-15539-SMG
         LIBERTY POWER DISTRICT OF
         COLUMBIA, LLC,                                                  Case No. 21-15540-SMG

               Debtors.                                    (Jointly administered 21-13797-SMG)
         __________________________________/

          ORDER (A) GRANTING DEBTORS’ EXPEDITED THIRD OMNIBUS MOTION FOR
          ENTRY OF AN ORDER (I) AUTHORIZING THE REJECTION OF CERTAIN PRE-
           PETITION EXECUTORY CUSTOMER CONTRACTS, (II) AUTHORIZING THE
            TERMINATION OF CERTAIN POST-PETITION CUSTOMER CONTRACTS,
           (III) WAIVING THE REQUIREMENTS OF RULE 6006(f)(6) OF THE FEDERAL
              RULES OF BANKRUPTCY PROCEDURE, AND (IV) SETTING BAR DATE
                      FOR THE FILING OF CLAIMS RELATED THERETO

                  THIS CASE came before the Court on January 11, 2022 at 1:30 p.m. (the “Hearing”)
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upon the Debtors’ Expedited Third Omnibus Motion for Entry of an Order (I) Authorizing the

Rejection of Certain Pre-Petition Executory Customer Contracts, (II) Authorizing The

Termination of Certain Post-Petition Customer Contracts, (III) Waiving the Requirements of Rule

6006(f)(6) of the Federal Rules of Bankruptcy Procedure, and (IV) Setting Bar Date for The Filing

of Claims Related Thereto [ECF No.515] (the “Motion”)1 filed by the above-captioned debtors-in-

possession (collectively, the “Debtors”) pursuant to sections 105(a), 363 and 365 of title 11 of the

United States Code (the “Bankruptcy Code”), Rule 6006 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and Rules 6006-1 and 9013-1(a) of the Local Rules for the

Southern District of Florida (the “Local Rules”) seeking entry of an order: (i) authorizing the

Debtors to reject those certain pre-petition Selected Customer Accounts in the East as described

on Exhibit “A” attached to the Motion; (ii) authorizing the Debtors to terminate those certain post-

petition Selected Customer Accounts in the East as described on Exhibit “B” attached to the

Motion; (iii) waiving the requirements of Bankruptcy Rule 6006(f)(6); and (iv) setting a bar date

for (x) the filing of claims under 11 U.S.C.§§ 365(g) and/or 502(g) based upon the rejection of the

pre-petition Selected Customer Accounts, and (y) the filing of a motion or application with the

Court seeking the allowance of any damage claim, including if applicable an administrative

expense claim under sections 503(b) and 507(a)(2) of the Bankruptcy Code related to the

termination of the post-petition Selected Customer Accounts.

           The Court, having reviewed and considered the Motion, having considered the arguments

of counsel and other parties in interest at the Hearing, finding that, based on the certificate of

service [ECF No.524] filed by the Debtors on the Motion and the notice of the Hearing [ECF No.

516], proper and adequate notice of the Motion and the Hearing thereon has been given to all


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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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parties entitled thereto and that no other or further notice is necessary, and this Court having

determined that the relief requested in the Motion is a proper exercise of the Debtors’ business

judgment and is otherwise in the best interests of the Debtors, their estates, and their creditors, and

other parties in interest, and upon the record of the Hearing and all the proceedings before this

Court, and after due deliberation thereon; and good and sufficient cause appearing, the Court also

finds that good and sufficient cause exists to grant the relief requested in the Motion. Accordingly,

it is:

         ORDERED that:

         1.     The Motion is GRANTED as set forth herein.

         2.     The Debtors’ proposed rejection of those certain pre-petition Selected Customer

Accounts in the East as described on Exhibit “A” attached to the Motion is hereby approved.

         3.     The Debtors’ proposed termination of those certain post-petition Selected

Customer Accounts in the East as described on Exhibit “B” attached to the Motion is hereby

approved.

         4.     The Debtors are authorized to take any and all action and execute and deliver any

and all documents that the Debtors determine are appropriate or required to effectuate the rejection

or termination, as applicable, of the Selected Customer Accounts as provided in the Motion,

including in connection with the transfer and/or transition of such Selected Customer Accounts to

the applicable alternate provider or utility.

         5.     ANY PROOF(S) OF CLAIM ARISING FROM THE REJECTION OF THE

DEBTORS’ PRE-PETITION CUSTOMER ACCOUNTS MUST BE FILED WITH THE

DEBTORS’ CLAIMS AGENT2 ON OR BEFORE THE LATEST OF: (I) THE TIME FOR


2
  The Debtors’ Claims Agent is Stretto and any proofs of claims to be filed pursuant hereto shall be mailed
to “Liberty Power Claims Processing, c/o Stretto, 410 Exchange, Suite 100, Irvine, CA 92602.”

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FILING A PROOF OF CLAIM PURSUANT TO BANKRUPTCY RULE 3002(C); OR (II)

60 DAYS AFTER THE DATE OF THIS ORDER APPROVING THE REJECTION OF

THE PRE-PETITION CUSTOMER ACCOUNTS (the “Rejection Claim Deadline”).

       6.      Any holders of rejection damage claims arising from the rejection of a Pre-Petition

Customer Account for which Proofs of Claim are not timely filed by the Rejection Claim Deadline

as set forth above shall not (a) be treated as a creditor with respect to such Claim, or (b) participate

in any distribution in these chapter 11 cases on account of such Claim. Any rejection damage

claims arising from the rejection of a Pre-Petition Customer Account for which Proofs of Claim

are not timely filed by the Rejection Claim Deadline as set forth above will be automatically

disallowed, forever barred from assertion, and shall not be enforceable against the Debtors, the

Estates or their property without the need for any objection, or further notice to, or action, order,

or approval of the Court. All rejection damage claims arising from the rejection of the Pre-Petition

Customer Accounts as set forth herein shall be deemed general unsecured claims against the

appropriate Debtor, except as otherwise provided by order of the Court.

       7.      Notwithstanding anything herein to the contrary, the procedures set forth above for

filing rejection damage claims shall not apply with respect to claims arising out of the termination

of Post-Petition Customer Accounts hereunder. Rather, if and to the extent any Customer

counterparty to a Post-Petition Customer Account asserts a damage claim related to the termination

of such Post-Petition Customer Account hereunder, then such Customer may file a motion or

application with the Court seeking the allowance of any such damage claim, including if applicable

an administrative expense claim under sections 503(b) and 507(a)(2) of the Bankruptcy Code.

       8.      ANY MOTION OR APPLICATION SEEKING A DAMAGE CLAIM FOR

THE TERMINATION OF A POST-PETITION CUSTOMER ACCOUNT MUST BE



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FILED WITH THE COURT ON OR BEFORE SIXTY (60) DAYS AFTER THE DATE OF

THIS ORDER (the “Termination Claim Deadline”).

       9.      Any motion or application for a damage claim arising from the termination of a

Post-Petition Customer Account that is not timely filed by the Termination Claim Deadline will

be automatically disallowed, forever barred from assertion, and shall not be enforceable against

the Debtors, their bankruptcy estates or their property without the need for any objection, or further

notice to, or action, order, or approval of the Court.

       10.     The requirements of Bankruptcy Rule 6006(f)(6) in connection with the rejection

of the applicable Selected Customer Accounts are waived.

       11.     This Court shall retain exclusive jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation and enforcement of this Order.

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Submitted by:
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Copy to: Paul J. Battista, Esq.
(Attorney Battista is directed to serve a conformed copy of this Order on all parties in interest)




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